Case 9:20-cv-80413-RKA Document 7 Entered on FLSD Docket 04/17/2020 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-80413-CIV-ALTMAN/Brannon

 NELSON FERNANDEZ,

         Plaintiff,

 vs.


 LOUIS VUITTON NORTH AMERICA, INC.
 a foreign for-profit corporation,

        Defendant.
  ________________________________________/

                                    NOTICE OF SETTLEMENT

         Plaintiff NELSON FERNANDEZ, by and through his undersigned Counsel, hereby

 provides notice that the parties have reached a settlement and will be executing necessary

 paperwork resolving all claims and matters in the case. Accordingly, the parties respectfully request

 that the Court stay all further proceedings to allow the parties to finalize the settlement agreement

 and file a stipulation for dismissal with prejudice.

         DATED: April 17, 2020.

         Respectfully submitted,

 RODERICK V. HANNAH, ESQ., P.A.                         LAW OFFICE OF PELAYO
 Counsel for Plaintiff                                  DURAN, P.A.
 8751 W. Broward Blvd., Suite 303                       Co-Counsel for Plaintiff
 Plantation, FL 33324                                   4640 N.W. 7th Street
 T. 954/362-3800                                        Miami, FL 33126-2309
 954/362-3779 (Facsimile)                               T. 305/266-9780
 Email: rhannah@rhannahlaw.com                          305/269-8311 (Facsimile)
                                                        Email: pduran@pelayoduran.com

 By____s/ Roderick V. Hannah __                         By ___s/ Pelayo M. Duran ______
       RODERICK V. HANNAH                                     PELAYO M. DURAN
       Fla. Bar No. 435384                                    Fla. Bar No. 0146595
Case 9:20-cv-80413-RKA Document 7 Entered on FLSD Docket 04/17/2020 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 17th day of April, 2020, a true and correct of the

 foregoing was electronically filed and served via transmission of Notice of Electronic Filing

 generated by CM/ECF on all counsel or parties of record on the Service List below:


 Shira M. Blank, Esq.
 EPSTEIN BECKER GREEN
 875 Third Avenue
 New York, NY 10022
 (212) 351-4694
 sblank@ebglaw.com

 Attorneys for Defendant
 LOUIS VUITTON NORTH AMERICA, INC.


                                             /s/ Roderick V. Hannah
                                                 Roderick V. Hannah




                                                2
